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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       Case No. 1:22-cv-24066-KMM
       GRACE, INC., et al.,
              Plaintiﬀs,
       v.
       CITY OF MIAMI,
              Defendant.
                                        /

                           PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                             THE CITY’S MOTION TO DISMISS AS MOOT

             ?e City’s latest motion to dismiss (ECF 80) asks the Court to buck more than sixty years

   of caselaw to evade judicial scrutiny of its continued race-based separation of Miamians in a

   system that “bears an uncomfortable resemblance to political apartheid.” Shaw v. Reno, 509 U.S.

   630, 647 (1993). ?e Court should deny the motion.

             As described fully in Plaintiﬀs’ objections to the City’s proposed remedy (ECF 83), the

   City’s newly enacted redistricting plan—Resolution 23-271—does not pass constitutional muster

   and this Court should reject that proposed remedy to the City’s unconstitutional sorting of

   Miamians based on race.1 ?e City cannot escape judicial review of its proposed remedial plan

   simply by arguing that the act of passing a new map in response to a court order strips the Court

   of jurisdiction. ?is is not a jaywalking law the City has repealed, or a sugary drink tax the City

   has replaced. ?e City’s Enjoined Plan and Res. 23-271 are unlawful racial gerrymanders that

   concern the very fabric of democracy in Miami. A back-of-the-napkin attempt to remedy its

   unconstitutional conduct does not strip the Court of its own responsibility to assess the plan’s


   1
       Plaintiﬀs incorporate by reference, as if fully set out herein, the facts and arguments presented in

   their objection to the City’s new plan (ECF 83).

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   lawfulness. And in its slapdash eﬀort to dodge the preliminary injunction, the City has failed to

   grapple with the core constitutional problem of the Enjoined Plan: “Outright racial balancing is

   patently unconstitutional.” Students for Fair Admissions, Inc. v. President and Fellows of Harvard

   Coll., No. 20-1199, 2023 WL 4239254, at *20 (U.S. June 29, 2023) (cleaned up).

             Because this Court has “its own duty to cure illegally gerrymandered districts,” it must

   review—and cannot accept—Res. 23-271. North Carolina v. Covington, 138 S. Ct. 2548, 2553

   (2018) (Covington III). And because it cannot accept (and, indeed, has not accepted) Res. 23-271,

   the Court cannot dismiss as moot Plaintiﬀs’ First Amended Complaint. Accordingly, the Court

   should deny the City’s legally baseless motion to dismiss and continue with its duty to both cure

   the City’s illegally racially gerrymandered City Commission districts and try Plaintiﬀs’ damages

   claims.

                                           LEGAL STANDARD

         I. Mootness Generally2

             “?e requisite elements of Article III standing are well established: A plaintiﬀ must show

   (1) an injury in fact, (2) fairly traceable to the challenged conduct of the defendant, (3) that is likely

   to be redressed by the requested relief.” Fed. Elections Comm’n v. Cruz, 142 S. Ct. 1638, 1646

   (2022) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “Plaintiﬀs must maintain

   their personal interest in the dispute at all stages of litigation.” TransUnion LLC v. Ramirez, 141

   S. Ct. 2190, 2208 (2021) (citing Davis v. Fed. Elections Comm’n, 554 U.S. 724, 733 (2008)).

             “[T]he doctrine of mootness considers whether [the plaintiﬀs’ interests] exist[] throughout



   2
       Plaintiﬀs address mootness here only to acknowledge the City’s confused framing, not to suggest

   the doctrine is in fact implicated. As Plaintiﬀs outline below, this case’s procedural posture does

   not bear on mootness doctrine at all.

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   the proceedings.” Uzuegbunam v. Preczewski, 141 S. Ct. 792, 796 (2021). “Mootness can occur

   due to a change . . . in the law.” West Virginia ex rel. Morrisey v. U.S. Dep’t of the Treasury, 59

   F.4th 1124, 1138 (11th Cir. 2023) (quoting Coral Springs St. Sys., Inc. v. City of Sunrise, 371 F.3d

   1320, 1328 (11th Cir. 2004)). “A case is moot ‘only when it is impossible for a court to grant

   any eﬀectual relief whatever to the prevailing party.’” Id. at 1139 (quoting Knox v. SEIU, Loc.

   1000, 567 U.S. 298, 307 (2012)) (emphasis added); see also Uzuegbunam, 141 S. Ct. at 796 (“[I]f

   in the course of litigation a court ﬁnds that it can no longer provide a plaintiﬀ with any eﬀectual

   relief, the case generally is moot.”) (emphasis added).

          “[A] defendant cannot automatically moot a case simply by ending its unlawful conduct

   once sued.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (citing City of Mesquite v. Aladdin’s

   Castle, Inc., 455 U.S. 283, 289 (1982)). “Otherwise, a defendant could engage in unlawful conduct,

   stop when sued to have the case declared moot, then pick up where he left oﬀ, repeating this cycle

   until he achieves all his unlawful ends.” Id. Accordingly, the Supreme Court has “explained that

   ‘a defendant claiming that its voluntary compliance moots a case bears the formidable burden of

   showing that it is absolutely clear the allegedly wrongful behavior could not reasonably be

   expected to recur.’” Id. (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528

   U.S. 167, 190 (2000)). Further, the “Court’s precedents recognize an exception to the mootness

   doctrine for a controversy that is ‘capable of repetition, yet evading review.’” Kingdomware Techs.,

   Inc. v. United States, 579 U.S. 162, 170 (2016) (quoting Spencer v. Kemna, 523 U.S. 1, 17 (1998)).

      II. Ke Redistricting Context

          “Relief in redistricting cases is ‘fashioned in the light of well-known principles of equity,’

   . . . taking account of ‘what is necessary, what is fair, and what is workable.’” North Carolina v.

   Covington (Covington I), 581 U.S. 486, 488 (2017) (ﬁrst quoting Reynolds v. Sims, 377 U.S. 533,




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   585 (1964), then New York v. Cathedral Acad., 434 U.S. 125, 129 (1977)). After a challenged

   redistricting scheme is enjoined, the judiciary “has a ‘duty’ to ensure that [the] remedy ‘so far as

   possible eliminate[s] the discriminatory eﬀects of the past as well as bar[s] like discrimination in

   the future.’” Covington v. North Carolina (Covington II), 283 F. Supp. 3d 410, 424 (M.D.N.C.)

   (quoting Louisiana v. United States, 380 U.S. 145, 154 (1965)), aﬀ’d in relevant part, 138 S. Ct.

   2548 (2018). While federalism and separation-of-powers considerations mean the legislative body

   is given an opportunity to correct the enjoined plan’s deﬁciencies, Wise v. Lipscomb, 437 U.S. 535,

   540 (1978), the court must review any new enactment to “consider whether the proﬀered remedial

   plan is legally unacceptable because it violates anew constitutional or statutory rights—that is,

   whether it fails to meet the same standards applicable to an original challenge of a legislative plan

   in place.” McGhee v. Granville Cnty., 860 F.2d 110, 115 (4th Cir. 1988).

          ?is review is part of the court’s “inherent power to enforce its own orders.” In re 3M

   Combat Arms Earplug Prod. Liab. Litig., 2021 WL 90509, at *2 (N.D. Fla. Jan. 11, 2021) (citing

   Magluta v. Samples, 162 F.3d 662, 664 (11th Cir. 1998) and Jones v. Graham, 709 F.2d 1457, 1458

   (11th Cir. 1983)). ?at power ensures the government is complying with its initial injunction and

   makes sense given “courts[’] . . . broad equitable powers to remedy violations and make victims

   of discrimination whole” “in cases involving federal anti-discrimination statutes.” Monohon v.

   BNSF Ry. Co., 623 F. Supp. 3d 990, 1001 (S.D. Iowa 2022) (citation omitted); see also United

   States v. Virginia, 518 U.S. 515, 547, (1996) (“A remedial decree . . . must be shaped to place

   persons unconstitutionally denied an opportunity or advantage in ‘the position they would have

   occupied in the absence of [discrimination].’” (quoting Milliken v. Bradley, 433 U.S. 267, 280

   (1977))); Green v. Cnty. Sch. Bd. of New Kent Cnty., 391 U.S. 430, 437 (1968) (explaining that

   once a court ﬁnds an oﬃcial act purposefully discriminates, the “racial discrimination [must] be




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   eliminated root and branch”); N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 239 (4th Cir.

   2016) (“As to the appropriate remedy for the challenged provisions, ‘once a plaintiﬀ has

   established the violation of a constitutional or statutory right in the civil rights area, . . . court[s]

   ha[ve] broad and ﬂexible equitable powers to fashion a remedy that will fully correct past

   wrongs.’” (quoting Smith v. Town of Clarkton, 682 F.2d 1055, 1068 (4th Cir. 1982))).

                                               ARGUMENT

           ?e City’s argument that its passage of Res. 23-271 moots Plaintiﬀs’ claim for relief is

   wrong as a matter of law. To that end, the City’s characterization of Res. 23-271 as “not an ‘interim’

   plan, but a plan that wholly replaces the Enjoined Plan,” ECF 80 at 6, is irrelevant. “[W]hen, as

   here, a state enacts a redistricting plan in an eﬀort to remedy a constitutional violation, a district

   court must ‘consider whether the proﬀered remedial plan is legally unacceptable because it violates

   anew constitutional . . . voting rights—that is, whether it fails to meet the same standards

   applicable to an original challenge of a legislative plan in place.’” Covington II, 283 F. Supp. 3d

   at 424 (quoting McGhee, 860 F.2d at 115). Whether the City proﬀered Res. 23-271 as an “interim

   plan” or a “replacement plan,” the new plan was the City’s “eﬀort to remedy a constitutional

   violation,” and therefore this Court must consider whether Res. 23-271 is legally acceptable. For

   that reason alone, the Court should deny the City’s motion because Res. 23-271 is simply part of

   the City’s response to Plaintiﬀs’ First Amended Complaint and this Court’s injunction.

           ?is makes sense considering the Court’s obligations when evaluating a proposed remedy

   to a constitutional deﬁciency. In assessing Res. 23-271, the Court “has a ‘duty’ to ensure that any

   remedy ‘so far as possible elimate[s] the discriminatory eﬀects of the past as well as bar[s] like

   discrimination in the future.’” Covington II, 283 F. Supp. 3d at 424 (quoting Louisiana, 380 U.S.

   at 154); see also Jacksonville Branch of NAACP v. City of Jacksonville (Jacksonville II), 2022 WL




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   17751416, at *11 (M.D. Fla. Dec. 19, 2022), stay denied, 2023 WL 119425 (11th Cir. Jan. 6, 2023),

   and appeal dismissed, Doc. 37, No. 22-14260 (11th Cir. June 6, 2023). ?e Court may approve

   Res. 23-271 only if it provides a “full and adequate remedy” to the race-based sorting of voters.

   United States v. Osceola Cnty., 474 F. Supp. 2d 1254, 1256 (M.D. Fla. 2006).

             Also irrelevant is the City’s suggestion that “[t]here is no indication that lines were drawn

   to separate residents on the basis of race” in Res. 23-271.3 ECF 80 at 7. Res. 23-271 was “oﬀered

   as a replacement for one invalidated by the [C]ourt,” so Plaintiﬀs no longer bear the burden they

   “[o]rdinarily” would in asserting a racial gerrymandering claim. Wilson v. Jones, 130 F. Supp. 2d

   1315, 1322 (S.D. Ala. 2000), aﬀ’d sub nom. Wilson v. Minor, 220 F.3d 1297 (11th Cir. 2000).

   Instead, the Court has an “independent duty to assess its constitutionality.” Id.; see also

   Jacksonville Branch of NAACP v. City of Jacksonville (Jacksonville III), 2023 WL 119425, at *3

   (11th Cir. Jan. 6, 2023) (noting district court’s “independent obligation to decide whether

   [proposed] plan was constitutional and corrected the defects which rendered the initial plan

   unlawful”).

             ?e City relies on inapposite authority suggesting an entitlement to the beneﬁt of the doubt

   and an insulation from judicial review. See ECF 80 at 5–6. Unsurprisingly, none of the cases the

   City cites concern remedial map-drawing to remedy an unconstitutional redistricting plan. See id.

   (citing Flanigan’s Enter., Inc. v. City of Sandy Springs, 868 F.3d 1248 (11th Cir. 2017) (action

   regarding sale of sexual devices at adult bookstore), abrogated by Uzuegbunam, 141 S. Ct. 792;

   United States v. W. T. Grant Co., 345 U.S. 629, 635 (1953) (ﬁnding Clayton Act suit not mooted

   by defendant’s resignation from corporate boards); Health Freedom Def. Fund v. President of U.S.,



   3
       As Plaintiﬀs’ objections and evidence in support make clear, there is in fact every indication that

   the City’s new lines were drawn to separate residents based on race. See generally ECF 83.

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   2023 WL 4115990, at *2 (11th Cir. June 22, 2023) (ﬁnding challenge to CDC’s travel mask

   mandate moot because mandate “has expired on its own terms”); Schultz v. Alabama, 42 F.4th

   1298, 1320 (11th Cir. 2022) (ﬁnding challenge to county bail practices not moot), cert. denied sub

   nom. Hester v. Gentry, No. 22-835 (U.S. June 12, 2023)); Coral Springs, 371 F.3d at 1328 (ﬁnding

   challenge to repealed sign ordinance “moot because [the city] amended the Sign Code soon after

   the plaintiﬀ complained about its constitutionality, and, notably, before any lawsuit was ﬁled”)).

          It is unsurprising that none of those cases concern redistricting because those cases—and

   the doctrinal framework that undergirds them—concern matters where the government body’s new

   action resolves the wrongful conduct. Here, that is the very question currently being litigated. ?e

   City asks the Court to assume the result of the very item being briefed for the Court’s decision—

   whether the proposed remedy is adequate. It thus makes no sense to cite caselaw, for example,

   about presumptions of good faith for government actors in the context of whether “wrongful

   behavior could not reasonably be expected to recur,” ECF 80 at 5 (quotations omitted), because

   the wrongfulness question is what this Court must still resolve. As Plaintiﬀs outline in detail, the

   wrongfulness never stopped. See ECF 83. ?e inappositeness of the mootness caselaw in general

   to this dispute—and the confusion wrought by the City in raising it—is made all the more clear by

   the implications of the doctrine itself. Once a case is moot, the dispute is over entirely—there is

   no amending, because there is no dispute left. ?e City’s brief—by conceding that it thinks

   Plaintiﬀs should be required to amend rather than the Court being required to dismiss the suit with

   prejudice—demonstrates the fallacy of discussing mootness here at all.

          ?e vast body of gerrymandering caselaw—whether in the equal protection or Voting

   Rights Act context—conﬁrms that simply passing a new map does not moot the case, and instead

   puts the ball squarely in the Court’s court for constitutional evaluation. See, e.g., Whitest v. Crisp




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   Cnty. Sch. Dist., 601 F. Supp. 3d 1338 (M.D. Ga. 2022) (reviewing government’s proposed map

   enacted to be permanent map); Covington II, 283 F. Supp. 3d 410 (M.D.N.C.) (same and sustaining

   all of the plaintiﬀs’ objections), aﬀ’d in part, rev’d in part, 138 S. Ct. 2548 (2018) (reversing only

   the rejection of districts challenged on state-law, rather than federal, grounds); Harris v. McCrory,

   2016 WL 3129213 (M.D.N.C. June 2, 2016) (reviewing government’s proposed map enacted to

   be permanent map), aﬀ’d sub nom. Harris v. Cooper, 138 S. Ct. 2711 (2018); Johnson v. Mortham,

   1996 WL 297280 (N.D. Fla. May 31, 1996) (same); James v. City of Sarasota, 611 F. Supp. 25

   (M.D. Fla. 1985) (same); Lipscomb v. Wise, 399 F. Supp. 782, 792 (N.D. Tex. 1975) (same and

   approving map), rev’d, 551 F.2d 1043 (5th Cir. 1977) (rejecting map), rev’d, 437 U.S. 535 (1978)

   (approving map); Sobel v. Adams, 214 F. Supp. 811 (S.D. Fla. 1963) (same and approving map),

   rev’d sub nom. Swann v. Adams, 378 U.S. 553 (1964) (rejecting map); see also ]omas v. Bryant,

   919 F.3d 298, 316 (5th Cir. 2019) (giving “the legislature and Governor an opportunity to remedy

   the Section 2 violation” and noting “[t]he district court has jurisdiction to consider any challenges

   to the adequacy of a legislative remedy.”);4 cf. Tallahassee Branch of NAACP v. Leon Cnty., 827

   F.2d 1436, 1438–40 (11th Cir. 1987) (holding that courts must give deference to government’s

   proposed remedial plan as “legislatively enacted” even when state law did not give the government

   the power to enact the proposed plan).

            A closer look at just three of these cases is instructive. In Harris v. McCrory, a three-judge

   district court enjoined North Carolina’s 2011 congressional map as an unconstitutional racial

   gerrymander. 159 F. Supp. 3d 600 (M.D.N.C. 2016), aﬀ’d sub nom. Cooper v. Harris, 581 U.S.

   285 (2017). ?e court gave the legislature two weeks “to create a constitutional redistricting plan.”



   4
       ?e Mississippi Legislature enacted a new plan, which the plaintiﬀs accepted. ]omas v. Bryant,

   No. 3:18-cv-441 (S.D. Miss. Apr. 4, 2019), ECF 99.

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   Id. at 627. ?e legislature redrew the congressional districts by enacting Senate Bill 2, a regular

   bill amending Section 163-201(a) of North Carolina’s statutes, eﬀective immediately.5 N.C. Sess.

   Law 2016-1. ?e state promptly notiﬁed the court of the new plan, the court set a brieﬁng schedule,

   and plaintiﬀs ﬁled objections. Harris v. McCrory, No. 1:13-cv-949 (M.D.N.C.), ECF 149, 153,

   157. ?e Court noted that it retained jurisdiction over “the remedial phase of this case,” noted “we

   have a responsibility to review the plan as a whole,” and asserted “it must determine whether the

   legislative remedy enacted at its behest is in fact a lawful substitute for the original unconstitutional

   plan. Accordingly, the Court can, and will, consider the plaintiﬀs’ objections to the entire

   Contingent Congressional Plan.” Harris v. McCrory, No. 1:13-cv-949, 2016 WL 3129213, at *2

   (M.D.N.C. June 2, 2016). ?e court denied the plaintiﬀs’ objections, and the plaintiﬀs appealed.

   Crucially, the Supreme Court aﬃrmed—it did not reverse; it did not vacate; it did not suggest in

   any way that the district court lacked jurisdiction to “review the plan as a whole” and “determine

   whether the legislative remedy enacted at its behest is in fact a lawful substitute for the original

   unconstitutional plan.” Harris v. Cooper, 138 S. Ct. 2711 (2018).

            A diﬀerent case, the same process: Johnson v. Mortham. A three-judge district court

   enjoined Florida’s 1992 congressional map as an unconstitutional racial gerrymander. 926 F. Supp.

   1460, 1495 (N.D. Fla. 1996). ?e court “directed” the legislature “to adopt a new congressional

   redistricting plan that remedies the constitutional inﬁrmities” and “submit such plan” to the Court

   within 35 days. Id. ?e legislature enacted House Bill 2745 as an ordinary piece of legislation,



   5
       ?e bill provided that the new plan would sunset if the Supreme Court stayed or reversed the

   district court’s injunction of the original 2011 plan. N.C. Sess. Law 2016-1 § 2. Similarly, the City

   of Miami maintains its current appeal of this Court’s initial preliminary injunction, and would be

   free to reenact the 2022 Enjoined Plan if the Court of Appeals reverses this Court’s injunction.

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   establishing the state’s congressional districts and fully replacing the enjoined 1992 plan. Laws of

   Fla. ch. 96-193. After Governor Chiles signed the plan, the state submitted it to the court, which

   “heard comments from both the plaintiﬀs and defendants and defendant-intervenors” and approved

   the plan. Johnson, 1996 WL 297280, at *1.

          Take another case: in James v. City of Sarasota, Black voters challenged the at-large

   election system for the Sarasota City Commission. 611 F. Supp. at 26. ?e city admitted liability

   on the eve of trial, and the court gave the city an opportunity to submit a proposed remedy. Id. at

   27. ?e city held a referendum on its proposed remedy, and the voters approved it as an amendment

   to the city charter, purporting to permanently change their city’s election system pursuant to

   Florida’s Municipal Home Rule Powers Act. Id. & n.2. ?e court, acknowledging that it “must

   now determine whether that plan violates section 2 of the Voting Rights [A]ct,” held a two-day

   evidentiary hearing, and approved the plan. Id.

          One ﬁnal case, from this Court: in Sobel v. Adams, a three-judge panel found the

   apportionment of the Florida House and Senate invidiously discriminatory in violation of the

   Fourteenth Amendment’s one person, one vote principle. 208 F. Supp. 316, 317 (S.D. Fla. 1962).

   ?e Legislature passed Senate Bill 10-X and the governor signed it, exercising state constitutional

   authority recognized by the Florida Supreme Court. Sobel v. Adams, 214 F. Supp. 811, 812 (S.D.

   Fla. 1963) (citing In re Advisory Op. to Governor, 150 So. 2d 721 (Fla. 1963)). ?is Court approved

   the Legislature’s submission, but the U.S. Supreme Court reversed, rejecting the Legislature’s new

   plan in light of Reynolds v. Sims, 377 U.S. 533 (1964). Swann v. Adams, 378 U.S. 553 (1964). On

   remand, this Court ordered its own apportionment plan. Swann v. Adams, 263 F. Supp. 225 (S.D.

   Fla. 1967).

          Because the Court must evaluate Res. 23-271 as a remedial map, Plaintiﬀs’ First Amended




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   Complaint remains operative, and the Court should deny the City’s motion to dismiss it as moot.

                                             *       *       *

          ?ere is another, independent reason the Court should deny the City’s motion to dismiss:

   Plaintiﬀs plead damages. See ECF 23 at 55, ¶ D (requesting nominal damages). Plaintiﬀs also

   request an award of attorneys’ fees and costs. See id. ¶¶ E, F.

          Nominal damages redress violations of constitutional rights. Uzuegbunam, 141 S. Ct. at

   796. Even were the Court to approve Res. 23-271, Plaintiﬀs would still be entitled to a full trial on

   the merits of their damages claim. Further, Plaintiﬀs’ victory at trial (in addition to their already

   consummated victory at the preliminary injunction stage) would entitle Plaintiﬀs to have their

   claim for attorneys’ fees fully adjudicated. Common Cause Ga. v. Georgia, 17 F.4th 102, 107 (11th

   Cir. 2021); Common Cause/Ga. v. Billups, 554 F.3d 1340, 1356 (11th Cir. 2009).

          ?us, as a ﬁnal basis to deny the City’s motion to dismiss, there are still pending claims for

   relief. Accordingly, it is not “impossible for [the] court to grant any eﬀectual relief whatever to the

   prevailing party.” Morrisey, 59 F.4th at 1139.

                                             CONCLUSION

          Over the past sixty years, the federal judiciary has charted a well-trod path in redistricting

   cases such as this one. ?at course ensures voters’ rights are protected, court orders are followed,

   and justice is done. ?is Court should not accept the City’s invitation to stray from that path. For

   the reasons explained above, and for the reasons explained in Plaintiﬀs’ opposition to the City’s

   proposed interim remedial plan (ECF 83), the Court should deny the City’s latest motion to

   dismiss.




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   Respectfully submitted this 10th day of July, 2023,

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